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    1                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
    2                            Norfolk Division
    3
        - - - - - - - - - - - - - - - - - -
    4                                            )
           CENTRIPETAL NETWORKS, INC.,           )
    5                                            )
                    Plaintiff,                   )       CIVIL ACTION NO.
    6                                            )           2:18cv94
           v.                                    )
    7                                            )
           CISCO SYSTEMS, INC.,                  )
    8                                            )
                    Defendant.                   )
    9                                            )
        - - - - - - - - - - - - - - - - - -
  10
  11        TRANSCRIPT OF VIDEOCONFERENCE BENCH TRIAL PROCEEDINGS
  12                             Norfolk, Virginia
  13                                 May 6, 2020
  14                                  Volume 1B
                                     Pages 94-164
  15
  16    BEFORE:    THE HONORABLE HENRY COKE MORGAN, JR.
                   United States District Judge
  17
  18
        APPEARANCES:
  19
  20                KRAMER LEVIN NAFTALIS & FRANKEL LLP
                    By: Paul J. Andre
  21                     Counsel for the Plaintiff
  22                DUANE MORRIS LLP
                    By: Matthew C. Gaudet
  23                     Counsel for the Defendant
  24
  25




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    1                                 I N D E X
    2   DEFENDANT'S
        WITNESS                                                         PAGE
    3
          KEVIN C. ALMEROTH, Ph.D.
    4          Technology Tutorial (Resumed) By Mr. Gaudet                96
    5
    6
    7                              E X H I B I T S
    8                              (None offered)
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                                 K. Ameroth - By Mr. Gaudet

    1               (Proceedings resumed at 2:13 p.m.)
    2               THE COURT:    All right, counsel.         Are we ready to
    3   resume?
    4               MR. GAUDET:    Yes, we are, Your Honor.
    5               THE COURT:    Okay.
    6               KEVIN C. ALMEROTH, Ph.D., called by the Defendant,
    7   having been first duly sworn, was examined and testified as
    8   follows:
    9               TECHNOLOGY TUTORIAL OF DEFENDANT (Resumed)
  10    BY MR. GAUDET:
  11    Q.   Thank you.    And we were getting towards the end of the
  12    first of the four sort of modules in our tutorial.
  13                So, Dr. Almeroth, if you would resume with the
  14    tutorial of the kind of overview of basic networking.
  15    A.   Certainly.    So we had talked about headers in the packet
  16    and some of the details, and we talked a little bit about
  17    payloads.    On slide 12 I have an additional animation that
  18    really gets at what I think is a fairly straightforward
  19    concept now, which is that if you have a file that you want
  20    to be able to send across the network, that that file is
  21    divided up into a series packets, and each of those packets
  22    will have a header, and each will have a portion of the
  23    original file.
  24                So, for example, if you have a PDF file of a
  25    decision that you wanted to send across the network, it would




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                                 K. Ameroth - By Mr. Gaudet

    1   be --
    2               THE COURT:    What does PDF mean?
    3               THE WITNESS:    I'm sorry.    It's a data format for how
    4   you would represent your decision, so that --
    5               THE COURT:    Payload data format?        Is that what that
    6   means?
    7               THE WITNESS:    It's been a while.        I actually don't
    8   remember.
    9               But it's a file that you can -- I guess after a
  10    while, you stop caring what the underlying words are.
  11                MR. GAUDET:    Your Honor, we've got a small army of
  12    engineers, and nobody came up with a better acronym than you
  13    did.
  14                MR. ANDRE:    Portable data format.
  15                MR. GAUDET:    There you go.     If I were Mr. Andre, I
  16    would have let it go.
  17                THE COURT:    Well, I keep seeing "PDF" on my cell
  18    phone, and I never knew what it meant.          It means portable
  19    what?
  20                THE CLERK:    It means postscript data format.
  21    Postscript data format.
  22                THE COURT:    Postscript data format.
  23                THE CLERK:    According to Anna Paretti, postscript
  24    data format.
  25                THE COURT:    Well, can we get that person in here as




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                                  K. Ameroth - By Mr. Gaudet

    1   an expert witness?
    2                THE CLERK:    She is listening and chatted the answer.
    3                THE COURT:    Okay.   All right.    Let's go ahead.
    4   BY MR. GAUDET:
    5   Q.   And, Dr. Almeroth, in practical terms, when you get a
    6   document by e-mail and it's -- for example, it's something
    7   that you could have printed out in hard copy, for example, a
    8   copy of a court's opinion, is that format typically what we
    9   just referred to as PDF?
  10    A.   Yes, it is.
  11    Q.   Okay.    If you would, proceed.
  12    A.   Sure.    So the document is divided up into a series of
  13    packets, and then those packets are sent across the network.
  14                 Packets generally have about 1500 characters, and so
  15    you can think about how many packets it would take to divide
  16    up a document like a court decision and put that across the
  17    network.     It would be thousands of packets.         And so, really,
  18    the point of the Internet here is that it has many packets
  19    that are being delivered between sources and destinations.
  20                 THE COURT:    Is there a maximum size of a packet?
  21                 THE WITNESS:    There is.    There are a couple of
  22    different maximums that can apply.           For an Internet protocol
  23    packet, it's about 65,000 characters, but, in practice,
  24    networks that deliver IP packets, Internet protocol packets,
  25    usually about 1500 bytes.




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                                 K. Ameroth - By Mr. Gaudet

    1               THE COURT:    It's usually about 1500, but it can go
    2   up to -- how much did you say?
    3               THE WITNESS:    65,000.
    4               THE COURT:    65,000.   Does it have to be a minimum
    5   size to justify being a separate packet?
    6               THE WITNESS:    No.   You could send one character.
    7   Sometimes, if you have a chat application and you type a
    8   character and the character shows up on the screen, you could
    9   send one byte over the Internet as a packet, one character.
  10                THE COURT:    Okay.   So this packet is usually about
  11    1500 bytes?    Is that the right word?
  12                THE WITNESS:    Yes, sir, and a byte is really like a
  13    character or a number.
  14                THE COURT:    That's the same as a character?
  15    BY MR. GAUDET:
  16    Q.   Would that just be a 1 or a 0?
  17    A.   No.    A byte is 8 bits.     A bit is a 1 or a 0.
  18                THE COURT:    A bit and a byte.     Okay.   May go up to
  19    65,000 --
  20                THE WITNESS:    Yes, sir.
  21                THE COURT:    -- bytes.
  22                THE WITNESS:    Yes, sir.
  23                THE COURT:    Which would be 260,000 bits.
  24                THE WITNESS:    256,000.
  25                THE COURT:    Okay.




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                                 K. Ameroth - By Mr. Gaudet

    1               THE WITNESS:    It's usually multiples of two, because
    2   they are 1's and 0's, and that's how you represent them.
    3               THE COURT:    Okay.   All right.
    4               MR. GAUDET:    You may have seen that I now have the
    5   distinction of being the first lawyer to ask his tutorialist
    6   a question and be told, "No."
    7   BY MR. GAUDET:
    8   Q.   With that, Dr. Almeroth, if you would proceed.
    9   A.   Yes.   So the next slide I will go over very quickly.
  10    It's about encryption, and I think Dr. Medvidovic was correct
  11    in describing that in some cases you would want to encrypt
  12    the data.
  13                So here we have a file that will be divided into a
  14    series of packets.       I'll show one of those packets going --
  15    you know, ready to leave that first computer, and that
  16    payload portion, which would be a series of 1's and 0's,
  17    would be encrypted with a key.         And so, that way, if somebody
  18    were looking at the network, they would see the payload, but
  19    they wouldn't be able to determine anything meaningful from
  20    that.   You would still be able to see the header, as
  21    Dr. Medvidovic described, but the point would be that while
  22    that packet was being sent across the network, that payload
  23    would be encrypted.
  24                Now, the receiver would have a key and would be able
  25    to unlock or decrypt the data and be able to see what the




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                                 K. Ameroth - By Mr. Gaudet

    1   sender had originally sent.
    2               THE COURT:    All right.    So there would be no reason
    3   to send it encrypted unless somebody could unencrypt it.
    4               THE WITNESS:    That's correct.
    5               THE COURT:    So the person to whom it's directed,
    6   what do we call him?
    7               THE WITNESS:    The recipient, the receiver.
    8               THE COURT:    Okay.
    9   BY MR. GAUDET:
  10    Q.   And to pick up on the Court's point, Dr. Almeroth, in
  11    order to be sure that both sides can actually decrypt this,
  12    is there yet another protocol or kind of a handshake that
  13    goes on beforehand to know that both sides are on the same
  14    page?
  15    A.   Yes.   So you mentioned a protocol, and the name of the
  16    protocol could be something like a transport layer security
  17    protocol.    And it's defined by the IETF, the Internet
  18    Engineering Task Force, and it tells you the rules for how a
  19    sender and a receiver would make sure that they were able to
  20    encrypt and decrypt the data.
  21                THE COURT:    Would a password be sufficient to
  22    unencrypt it?
  23                THE WITNESS:    Yes; obviously, if it's the right
  24    password.
  25                THE COURT:    All right.    So if you get something and




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                                K. Ameroth - By Mr. Gaudet

    1   you have to put in a password to retrieve it, that means that
    2   it's encrypted when it's sent to you.         Is that right?
    3              THE WITNESS:    Yes, in usual circumstances.
    4              THE COURT:    Okay.
    5              THE WITNESS:    And I think the point that
    6   Dr. Medvidovic made, and I will make it as well, is that an
    7   increasing amount of traffic being sent across the Internet
    8   is encrypted.    So it becomes a challenge for knowing whether
    9   or not packets that are encrypted actually contain malicious
  10    software or attacks.
  11               THE COURT:    They could just be something that is
  12    thought to be private.      Like, for example, I get things on my
  13    iPhone from various sources, and they want to know the
  14    password, which I can't remember so I can't get it, so -- but
  15    that doesn't mean it's malicious.        It could be just private,
  16    not malicious.
  17               THE WITNESS:    That's correct.
  18               THE COURT:    Well, how do you tell the difference?
  19               THE WITNESS:    That is the challenge, and that's what
  20    security tools have to be able to do.
  21               And I think you asked them some very specific
  22    questions about, well, maybe where the request for your
  23    password is coming from.       If it's coming from Bank of
  24    America, that might be trusted.        If it's coming from some
  25    unknown source in a foreign country, that might be something




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                                K. Ameroth - By Mr. Gaudet

    1    worth investigating.     And so the challenge of security tools
    2    is knowing how to look at information that comes across the
    3    network, even if it's encrypted, to be able to determine
    4    whether it's malicious or not.
    5    BY MR. GAUDET:
    6    Q.   Dr. Almeroth, approximately how long have these various
    7    encryption protocols been in existence?
    8    A.   Decades, more than a decade.
    9    Q.   And this discussion we're having now about the good use
   10    of encryption -- for example, privacy versus the dangerous
   11    use of encryption -- has that discussion been going on that
   12    whole time, as well?
   13    A.   Yes, it has.   Very clearly, once the Internet really
   14    started to grow to be used for things like business,
   15    commerce, it became important to be able to encrypt the data
   16    that was sent over the network, and these protocols have been
   17    around for 20 years.
   18    Q.   If you would, proceed.
   19    A.   Certainly.   All right.    So then the next piece is, then,
   20    that that file goes back into the computer and is decrypted.
   21              What I wanted to do now is, on slide 14, go back to
   22    this figure that showed that in a network enterprise, there
   23    can be lots of packets flowing around the network, and given
   24    the millions of packets that can come from all of these
   25    different applications, it's important to try and put




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                                 K. Ameroth - By Mr. Gaudet

    1    together a sense of which packets are related to which other
    2    packets.   So if you send a file from one computer to another,
    3    it would be useful to understand which packets were part of
    4    or related to that particular file.
    5               Now, first of all, there's a definition for kind of
    6    the relationship of those packets, and it's called a packet
    7    flow.   And a packet flow is really where you have a set of
    8    packets being sent over the network; for example, from user 2
    9    to user 5, representing the encrypted packets of that file.
   10    And you want to be able to relate them to each other, and on
   11    the Internet there's a term for that called the flow, and the
   12    flow is really the packets between a sender and a receiver
   13    for a single connection.       And so you can think about
   14    individual packets, and then you can also think about
   15    grouping sets of packets together into these flows.
   16               THE COURT:    Well, a flow means whether packets are
   17    received as a group or as just a single communication.          How
   18    do you know when a flow stops?
   19               THE WITNESS:    It depends on what level you look at
   20    them.   You can look at individual packets, or you can take a
   21    step back and try and organize all the packets that you're
   22    seeing into distinct flows.
   23    BY MR. GAUDET:
   24    Q.   And, Dr. Almeroth, maybe to help bring some of this into
   25    further view, if you -- let's say you have a particularly




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                                    K. Ameroth - By Mr. Gaudet

    1    large document, for example, the proposed findings of fact
    2    and conclusions of law of the parties, that would be a lot of
    3    packets, right?
    4    A.    That would be.
    5    Q.    Okay.    So as --
    6                  THE COURT:    You wouldn't want to try to carry it.
    7                  MR. GAUDET:    Your Honor, we learned our lesson on
    8    that one.
    9    BY MR. GAUDET:
   10    Q.    If you broke that document up -- let's say it turned
   11    into -- making this up -- a hundred packets.            Is that at
   12    least reasonable for the example?
   13    A.    Probably about a million packets, but, okay.
   14                  MR. GAUDET:    Your Honor, there he goes again.
   15    BY MR. GAUDET:
   16    Q.    So a million packets.        Now, would those million packets
   17    stay in specific order, 1 through a million, as they travel
   18    around the network?
   19    A.    No.   Here's the analogy that I use:
   20                  Let's say that I had a 10,000-page document and I
   21    wanted to send it through the post office, and, for some
   22    reason, I wanted to send an envelope with only one page in
   23    it.   I would prepare 10,000 different envelopes.          I would
   24    write the address on the outside, put a stamp on it, and I
   25    would dump these 10,000 envelopes into the post office.              You




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                                  K. Ameroth - By Mr. Gaudet

    1    can use your imagination and envision that they probably all
    2    go to the post office, but they might get sorted into
    3    different bins, and the bins might go in different
    4    directions, and so they could just kind of flow through the
    5    post office as independent little pieces of information and
    6    take all sorts of different paths through the network.
    7                Now, hopefully, they would all reach the
    8    destination, and one of the things that your computer would
    9    do, or what you would do, is you would try and reassemble all
   10    of these envelopes or packets to get the original document
   11    that had been divided up and sent.          And so that's part of
   12    this process of what a computer does when it receives all of
   13    these individual packets.
   14                THE COURT:    Well --
   15                THE WITNESS:    But as a collection, those packets
   16    would be a flow.
   17                THE COURT:    Well, didn't we say that sometimes on
   18    the address there's a number?
   19                THE WITNESS:    Yes.
   20                THE COURT:    And you could number the packets.
   21                THE WITNESS:    That's correct.
   22                THE COURT:    So that way it would -- you could put
   23    them back together, or maybe the computer could put them back
   24    together.
   25                THE WITNESS:    It would.    And you're not using the




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                                K. Ameroth - By Mr. Gaudet

    1    acronym, but you're talking about a field in the protocol of
    2    the Transmission Control Protocol.        It has what's called a
    3    sequence number, and those sequence numbers are assigned by
    4    the sender, and they're used by the receiver to put the
    5    packets back into the right order.
    6    BY MR. GAUDET:
    7    Q.   Is it fair to say in our example the million or so
    8    packets will kind of set out on their own over the network
    9    and then have a meet-up point at the other computer, where
   10    that number will then be used by the other computer to put
   11    them back together?
   12    A.   That's correct.
   13    Q.   And then this concept of a flow is just referring to that
   14    set of packets that together will eventually add up to that
   15    single document?
   16    A.   That's correct.    And that right box -- there's a way of
   17    identifying and distinguishing one flow from another flow.
   18    So there's the source address that's sending the computer.
   19    There's a source port number that identifies the sending
   20    computer as well, what application sent it.         There's a
   21    destination address and a destination port number, sort of
   22    like on an envelope, it's the name and the address together.
   23    And then the protocol that's used to transport those packets.
   24              Those five pieces of information will uniquely
   25    differentiate one flow of packets on the Internet from




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                                 K. Ameroth - By Mr. Gaudet

    1    another flow of packets.
    2    Q.    And those five pieces of information together can be
    3    called a 5-tuple?
    4    A.    5-tuple or "5-tuple."
    5    Q.    Another one of those funny names.
    6                  Dr. Almeroth, if you would, proceed.
    7    A.    Sure.    Slide 15 expands out one of these routers or
    8    switches, and what it describes is, essentially, the function
    9    that one of these routers does.        And, at a high level,
   10    it's -- the analogy I use with my students is, if you come to
   11    an intersection, you have to decide which way to go.          If a
   12    packet arrives into a router from one of the wires connecting
   13    it to a computer or to another router, it will look at the
   14    packet payload header, the packet header, and it will
   15    determine where that packet should be sent to get it to the
   16    destination.
   17                  And so, just like in the post office, a letter comes
   18    in.   You have to decide to put it on a truck to another
   19    neighborhood or put it on a plane to go across the country.
   20    So based on that address, you figure out where that packet
   21    should be sent.
   22                  There's a couple of additional terms that come up.
   23    Packets come into a router in a place called ingress, and
   24    then they leave the router on egress.         So you'll hear these
   25    terms "ingress" and "egress" being used to describe when




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                                K. Ameroth - By Mr. Gaudet

    1    packets come into a router, a decision is made, and then the
    2    packets are sent out.
    3                So the animation continues.     What I've attempted to
    4    do here is kind of drill down into the layers of what happens
    5    in the Internet to talk about some of the concepts about
    6    moving packets and moving data encryption and what routers
    7    and switches do.
    8                The next animation that we get to is kind of just to
    9    pop up back to the top level, where you have the businesses,
   10    you have the core or backbone of the Internet, and showing
   11    that you can have lots of packets being exchanged over this
   12    entire network to really drive home the concept of just how
   13    much data the world over is being exchanged over the
   14    Internet.
   15                Now, in some parts over the first set of my
   16    presentation, we've talked a little bit about the evolution
   17    of the Internet, and I wanted to focus a little bit on kind
   18    of grounding some of what's happening here in the Internet
   19    with what's happened over the course of time.
   20                So slide 17 shows a graph, and it shows from the
   21    early days of the Internet when, essentially, the web was
   22    being developed in about 1992, up until about 2010.          And you
   23    can imagine, and you've probably witnessed, how the size and
   24    speed of the Internet has increased, the complexity of the
   25    applications have increased.      And, clearly, we're sitting




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                                K. Ameroth - By Mr. Gaudet

    1    here now, through the miracle of modern technology, doing
    2    Zoom, a trial by Zoom.     Things like business transactions,
    3    electronic commerce, all of those have, over the last 25
    4    years or so, become very important to our society.
    5              Now, as this graph shows, e-commerce really started
    6    to take off in about 1995, and from 1995 until about 2010,
    7    there was really a lot of work done to develop new
    8    applications and then to also protect the Internet in terms
    9    of security.
   10              And I think this case will be about -- and so I
   11    don't really want to get into it in the tutorial, but there
   12    will be a lot of discussion about exactly what the
   13    state-of-the-art was and how much had been accomplished
   14    before the patents in this case were filed.
   15              But the point I want to make here on this slide is
   16    certainly the evolution of the Internet, which started in
   17    1995, had evolved significantly over the 15 years or so after
   18    1995.
   19              And, with that, slide 18 is the end of the first
   20    module, and it really, just in a couple of concise
   21    statements, attempts to summarize really the key points I was
   22    trying to get across.     I'm not going to read them.      They're
   23    kind of there for your review.       If there's any of these
   24    statements or anything that I've covered so far that you have
   25    more questions about, I'll pause.




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                                  K. Ameroth - By Mr. Gaudet

    1                THE COURT:    No, I think that -- we're up to the
    2    point at the end there where it says, "Faster, larger, more
    3    complex."    That's when we get into the security angle, I
    4    guess, at that point.
    5                THE WITNESS:    That's true.     I think we've -- well,
    6    we've been concerned about security for a long time.          I think
    7    that's something that will come out over the course of the
    8    trial.
    9                MR. GAUDET:    And, Your Honor, that's exactly the
   10    next module we're going to turn to.          In fact, the next two
   11    relate to security.
   12                So the network security overview, in terms of the
   13    types of security approaches that -- and have been taken over
   14    time, and then we'll get into sort of a deeper dive into
   15    security in the third module, and then the last thing we'll
   16    do is talk about the accused products.
   17                So now we're at the network security overview.
   18    BY MR. GAUDET:
   19    Q.   Dr. Almeroth, if you would, proceed.
   20    A.   Yes.   And this is fairly short, and the reason why it's
   21    fairly short is because, based on the questions you've asked
   22    me and also the questions you asked of Dr. Medvidovic, I
   23    think you have a good sense of some of the general aspects of
   24    security.
   25                So my first slide on this, slide 20, it's a highly




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                                K. Ameroth - By Mr. Gaudet

    1    complex problem.    The Internet is very large and complex.
    2    There are lots of vulnerabilities that can exist when new
    3    software gets developed and deployed.        It has bugs that can
    4    turn around and be exploited.       There's ways of writing
    5    software, malware or worms or viruses, all sorts of different
    6    software that could go into affecting your computer.
    7              And the point of slide 20 is really just to
    8    represent that there's the good guys and the bad guys, and
    9    the bad guys are constantly trying to attack networks, to
   10    gain information that's supposed to be secure and private, to
   11    exploit that information, and there are people who are trying
   12    to secure networks, to sell products and services that will
   13    protect people from the kinds of attacks that the hackers are
   14    attempting to perpetrate.
   15              The concept that I mentioned earlier -- and it also
   16    came up in the other tutorial -- is this idea of
   17    defense-in-depth.     We can use a couple of analogies here,
   18    like the courthouse.     There's security to gain access to the
   19    courthouse.    There are court security officers who wander
   20    around the courthouse.     There are locks on doors so that once
   21    you get into the courthouse that doesn't mean that you can
   22    just wander anywhere.
   23              The same thing happens throughout our society.         At
   24    airports, at public buildings, at businesses, you have
   25    different levels of security.       It's not an expectation that




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                                K. Ameroth - By Mr. Gaudet

    1    there will only be one type of security and that it will work
    2    perfectly and it will protect everything.
    3              And the same applies for computer security.          You can
    4    have passwords; you can have software on your computer that
    5    will search for viruses.      And then the thing that will really
    6    be of emphasis here in this trial will be on network
    7    security, and the different things that can be done in the
    8    network to try and protect users both from giving away their
    9    personal information but also to protect private information
   10    that's being stored on computers and networks.
   11              Slide 22 shows this same figure, and really the
   12    point here is that network security can be implemented in
   13    lots of different places in this kind of network.         We talked
   14    a little bit about the gateway and the routers that exists at
   15    the gateway from Dr. Medvidovic's tutorial.         You can also use
   16    a firewall that gets applied at that point.         There's
   17    functionality that can be added to routers and switches, and
   18    there's software that can be installed on users' computers.
   19              So the point, again, really, is that there is a lot
   20    of different places and types of software and types of
   21    operations that can be used to try and protect the network.
   22              I bring this point around on slide 23 and introduce
   23    kind of two additional points, the first of which is part of
   24    implementing security.     And some of these challenges have
   25    been represented in your questions:        How do you do it?    What




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                                K. Ameroth - By Mr. Gaudet

    1    exactly do you do?     When do you implement security?       Where do
    2    you implement it?     And when you combine this with kind of a
    3    strategy of defense-in-depth, there's a lot of different
    4    options for what you can do in network security.
    5              THE COURT:    Well, let's say I'm concerned about the
    6    security of my financial information.        Sometimes judges have
    7    had problems with that, actually, people trying to get their
    8    financial information, even though we have to file it, but
    9    don't have the details on our bank numbers and so forth.
   10              But if I use my credit card to pay a bill over the
   11    Internet, how does the person, the payee, secure it?          In
   12    other words, if I subscribe to any of these things like
   13    Disney or Netflix and I do it over the Internet, unless the
   14    person that I'm paying has some sort of security, then it's
   15    open to the world, right, my credit card information?
   16              THE WITNESS:    That's correct.     And they attempt to
   17    secure that information, and they do a couple of different
   18    things, the first of which is they limit access to the
   19    servers that store that information.
   20              They also store that information already encrypted.
   21    So if somebody does get access to the computer, they should
   22    only get access to the encrypted information.         And then what
   23    happens is somebody does it badly, and the next thing you
   24    know, there is some sort of massive access to information and
   25    it shows up in the news.      100,000, 20 million records of




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                                K. Ameroth - By Mr. Gaudet

    1    people's credit card information stolen from Equifax, or even
    2    a corporation like Sony can be hacked by another country and
    3    information from that country stolen, and they can be
    4    blackmailed with that, you know, the release of that
    5    information.    So that's really kind of this give and take of
    6    how do we secure this network.
    7              In some cases, hackers gain access to this
    8    information because somebody uses their password word
    9    "password" and so hackers can just guess what the password is
   10    and gain access to their account.       And so that's kind of the
   11    strategy of why you need defense-in-depth.          And from the
   12    perspective of this case, you're focused on network security
   13    and the things that companies like Cisco and Centripetal can
   14    do inside of the network.
   15              THE COURT:    To prevent my credit card number or my
   16    bank checking account number from being hijacked?
   17              THE WITNESS:    That's correct.
   18              THE COURT:    And, of course, that depends on the
   19    security of the person receiving that information --
   20              THE WITNESS:    It does.
   21              THE COURT:    -- how secure they are.       Because once I
   22    send it, I put it out there, so there's no security that I
   23    can provide once I send it.
   24              THE WITNESS:    That's correct.
   25              THE COURT:    I can buy insurance that will reimburse




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                                K. Ameroth - By Mr. Gaudet

    1    me if somebody hijacks it, you know.
    2              THE WITNESS:    Or your credit card, unrelated to the
    3    network, will have fraud protection, and it will monitor the
    4    kind of transactions that are happening, and if there's
    5    something unusual about the transaction, then it can raise an
    6    alert with you.
    7              The transaction was allowed to go through or, in
    8    some cases, can be held up, but the credit card companies
    9    will mine or analyze large volumes of data to determine
   10    whether or not they think that there's some sort of
   11    suspicious activity happening.       So that would be a different
   12    kind of defense-in-depth layer that would be different than,
   13    say, protecting packets as they go across the network.
   14              THE COURT:    Well, and if an admiral tells the
   15    captain of a ship to deploy it to the Mediterranean
   16    electronically, then that or whatever that electronic means
   17    is has to be secure on both the sender and the receiver's
   18    end.
   19              THE WITNESS:    That's right.
   20              THE COURT:    I mean, that kind of information.       All
   21    right.
   22              THE WITNESS:    One last point to make:
   23              I will add a line on slide 23, and I will change
   24    some of the tenses of the verbs, right?        The Internet has
   25    grown in size and complexity, and on this timeline, up until




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                                  K. Ameroth - By Mr. Gaudet

    1    2010, there has been significant activity in how to protect
    2    networks, lots of products from lots of companies who have
    3    tried to develop solutions that will contribute to the
    4    different layers of defense.        And I think that one of the
    5    things that will come out in this case is what some of those
    6    network security products are that predated the patents.
    7                With that, that's -- as I said, I promised a short
    8    module, and these are the quick summary points before we get
    9    into the deep dive.
   10                THE COURT:    All right.
   11                MR. GAUDET:    Your Honor, the third of the four
   12    modules is now a little bit -- as Dr. Almeroth said, a little
   13    bit of a deeper dive into the different sorts of ways that
   14    you can protect a network, and I think that the credit card
   15    example of that is probably a pretty good analogy for a lot
   16    of this.
   17    BY MR. GAUDET:
   18    Q.   Dr. Almeroth, if you would, proceed with the deeper dive
   19    into the network security area.
   20    A.   Yes.   All right.     On slide 27 I'm going to present,
   21    basically, two approaches to network security.
   22                Now, these aren't the only approaches that exist.        I
   23    will come back and describe how these approaches can kind of
   24    be mixed together.       It's also the case that since you have
   25    defense-in-depth, that you can have multiple layers of




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                                K. Ameroth - By Mr. Gaudet

    1    security, in fact, some of these approaches working at the
    2    same time.    But, really, the two approaches are what are
    3    described on the screen as packet-based blocking, using
    4    inline analysis, and then flow-based allow-and-detect
    5    security using out-of-band analysis.        Now, the whole point of
    6    the next 20 minutes or so will be to give some meaning to
    7    those terms.
    8              We've talked about packets, you've heard something
    9    about blocking, and you've also seen examples in
   10    Dr. Medvidovic's tutorial of inline analysis.         So I'll go
   11    through that in a fairly straightforward way for the first
   12    approach, and then I'll contrast it with the second approach.
   13              Like I try and do, I'll start off with an analogy.
   14    So instead of an enterprise network, it's a neighborhood, and
   15    the neighborhood wants to implement some form of protection,
   16    and they're lucky enough to have a guardhouse.         And so cars
   17    will approach the guardhouse, just like packets would come
   18    into a network, and they will be inspected by the guardhouse.
   19    They'll have to pause, answer questions, be checked against a
   20    list, but eventually a determination will be made whether or
   21    not a car is allowed into the neighborhood or not.
   22              So this is an example of, on a car-by-car basis, a
   23    guardhouse is looking at the cars as they pass on the road.
   24              The second car comes up to the gate.        It's
   25    challenged.    It passes the test.     It is allowed into the




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                                K. Ameroth - By Mr. Gaudet

    1    network.
    2               The third car is not authorized to enter the
    3    network.   It's not authorized to enter the neighborhood, and
    4    so it's prohibited from entering the neighborhood.         It's
    5    blocked and is not allowed to enter the neighborhood.          So
    6    that gives you a sense of kind of the basic concept.          I want
    7    to do that same kind of concept in a computer network and go
    8    through those terms of a packet-based blocking system using
    9    inline analysis and describe how those terms relate
   10    specifically to this computer network.
   11               So now I still have the guardhouse.       It might be
   12    something like a firewall.      It's shown separate from the
   13    gateway, so it's functionality that could be implemented into
   14    the gateway, but the key here is that the first thing that
   15    happens is a series of packets will be sent from some sender
   16    in the Internet and be destined for some user in that
   17    network.
   18               Now, in each of these packets, I have given it some
   19    letters just to differentiate the information that's in the
   20    packet.    And what the firewall or guardhouse will do is it
   21    will use a set of rules where it knows about some packets as
   22    being malicious, and if a packet is received and inspected
   23    and it doesn't meet one of the rules identifying it as
   24    malicious, then it's allowed to proceed into the network, and
   25    then it will be routed by the routers and switches, and then




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                                 K. Ameroth - By Mr. Gaudet

    1    it will reach the destination.
    2               I have another example.      Same thing happens.    A
    3    packet comes in.    It's not on the list of rules that would
    4    identify it as malicious, and so it's allowed to proceed into
    5    the network.
    6               Now, this third packet is on the list of rules and
    7    is identified as malicious, and so at that point it's blocked
    8    from entering the network.       And so using an inline analysis
    9    of packets that are coming through the network, they're
   10    inspected as they come into the network, and based on whether
   11    or not that packet matches a rule, it is either blocked or
   12    allowed to proceed into the network.
   13               THE COURT:    What happens to the packets that are
   14    blocked?   Where do they end up?
   15               THE WITNESS:    A couple of different things can
   16    happen.    They can be thrown away virtually, meaning nothing
   17    happens to them.    They can be rerouted somewhere for some
   18    additional inspection.
   19               THE COURT:    Well, what do you mean by "nothing
   20    happens to them"?     They're erased?
   21               THE WITNESS:    They're deleted, just like if you
   22    delete a file off of your computer.         So instead of being
   23    allowed to --
   24               THE COURT:    But a lot of times you can retrieve
   25    what's been deleted, right?




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                                 K. Ameroth - By Mr. Gaudet

    1               THE WITNESS:    Yes.   And when you're operating at
    2    millions of times a second, there isn't ever really an
    3    interest in trying to retrieve these packets that have been
    4    blocked or deleted from being forwarded through to the
    5    destination.
    6               THE COURT:    Well, I don't mean that.     I just mean
    7    that -- let's say the issue is privacy.         You say they're
    8    deleted.   Does that mean that at some later point they can't
    9    be retrieved?
   10               THE WITNESS:    That's correct.
   11               THE COURT:    That's the theory.
   12               THE WITNESS:    That's the theory.
   13               THE COURT:    But haven't we had situations where they
   14    were found?
   15               THE WITNESS:    Usually, if they're found, it's
   16    because instead of deleting them, they're redirected for
   17    further inspection.      They might go to what is called a proxy
   18    server, and there they can be stored.
   19               In some cases, you can identify -- you could say,
   20    look, this is a bad packet.       I want to send it to a proxy
   21    server so that it can be inspected.
   22               THE COURT:    Well, if somebody were able to get into
   23    the guardhouse and look at the guardhouse records, they could
   24    find out whatever the guardhouse learned about that packet.
   25               THE WITNESS:    That's correct.     Who watches the




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                                 K. Ameroth - By Mr. Gaudet

    1    watcher?
    2                  And so somebody else could get into the guardhouse
    3    and put in bad rules, and say, you know, "Allow this hacker
    4    in."    And so part of the layers of defense is to make sure
    5    no one gets into the guardhouse who isn't allowed.
    6    BY MR. GAUDET:
    7    Q.     So while I fear maybe raising the scary level for the
    8    whole notion of a guardhouse, they're rules themselves that
    9    reflect known viruses or known malware out on the Internet.
   10    Is that generally fair?
   11    A.     Yes.   That's correct.
   12    Q.     And so these things come down and get turned into rules.
   13    What happens if one of these companies that supplies that
   14    information supplies bad information or bad rules?
   15    A.     Two things:   You can get what are called false positives,
   16    where you think something is bad, but it's not, and so the
   17    traffic is actually blocked from the network.          That usually
   18    results in a user saying, "I was able to get to my e-mail
   19    yesterday, but I can't today.        What happened?"   And so the
   20    guardhouse believed something was malicious based on a rule
   21    it was given and so blocked that traffic, but it wasn't.          So
   22    it's called a false positive.
   23                  You can also have instances where the rules aren't
   24    effective or a piece of malware was just introduced, and so
   25    the guardhouse doesn't have the latest set of rules, and so




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                                K. Ameroth - By Mr. Gaudet

    1    even if you're using blocking, sometimes malicious packets
    2    can get through into the network.
    3    Q.   If you would, proceed.
    4    A.   Yes.   So this kind of packet-based blocking with inline
    5    analysis, on slide 30 I prepared a spectrum where you can do
    6    simple checks on the red end, the left side, or you can do
    7    more detailed inspection on the right side.         And this goes to
    8    kind of how much inspection that you can do through
    9    packet-based blocking using inline analysis.
   10                And I've got a representation.      You know, at first
   11    you have a very simple guardhouse.        As you do more complex
   12    processing, where you're looking at more features of a
   13    packet, including even looking into the payload to see what
   14    data is in the payload, then your guardhouse gets more
   15    sophisticated, your device in the network becomes more
   16    sophisticated, and then even to the point there's a term
   17    called intrusion prevention system.        So now it's doing very
   18    complex processing of packets to try and understand if these
   19    hundred packets all have parts of a malware program and, if
   20    they do, being able to block all of those packets.
   21                Now, this gets into kind of a discussion of the pros
   22    and cons.    It seems like everybody would like guardhouse 3,
   23    because you get more protection from an intrusion prevention
   24    system than a quick check of a packet header, but the reality
   25    is that those kinds of considerations to what happens in the




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                                K. Ameroth - By Mr. Gaudet

    1    Internet -- for example, if suddenly the courthouse gets a
    2    huge increase in bandwidth, then their guardhouse number 3
    3    may not be able to keep up with the volume of traffic that's
    4    coming into the courthouse and to be able to do the complex
    5    processing associated with an intrusion prevention system.
    6              And so the who, what, and how, and where of how much
    7    processing you can do at the entry point into a network with
    8    a device like a firewall will depend on a whole series of
    9    characteristics; how much traffic, how much detailed
   10    processing of those packets and headers do you want to do,
   11    how many rules do you have?      The more rules that you have to
   12    apply to incoming packets, the more processing speed that you
   13    need.   If you wanted to process 5 million rules, that would
   14    require a lot of capability within that particular device,
   15    and that would be a different style of analysis than, say, a
   16    firewall with 10,000 rules.
   17              THE COURT:    It would need more hardware?      Are you
   18    saying it would require more hardware or more sophisticated
   19    hardware if the software expanded the number of rules?
   20              THE WITNESS:    That's exactly correct.
   21              THE COURT:    So that's why you try, when you're
   22    putting in a new rule, to see if you can erase an old one.
   23              THE WITNESS:    That's correct.
   24              THE COURT:    In other words, you can't just keep
   25    adding, you've got to subtract.




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                                K. Ameroth - By Mr. Gaudet

    1              THE WITNESS:    And, unfortunately, with more and more
    2    applications, you need more and more rules.         And so this kind
    3    of system is useful in some circumstances, but there's other
    4    ways in which security can be implemented.
    5    BY MR. GAUDET:
    6    Q.   Dr. Almeroth, you referred to this as an inline analysis,
    7    and what does that word "inline" mean?
    8    A.   Inline means you're stopping the packets and you're doing
    9    the analysis as the packets are coming into the network.            So
   10    you stop them.    You pause them until you can go through all
   11    of the rules in the analysis to determine whether or not that
   12    packet should be allowed or not.
   13    Q.   And Judge Morgan asked a great question in
   14    Dr. Medvidovic's -- well, many great questions, but one of
   15    them was, are we talking about every packet?
   16    A.   Yes, every packet.    You can begin to intuit just how much
   17    hardware and software you would need to use to get a system
   18    to act quickly on all of the packets coming through on a link
   19    that has high capacity.     Sometimes we call that wire speed.
   20    Can the guardhouse operate at wire speed to make sure that
   21    packets aren't significantly delayed?
   22              Almost regardless of how much processing you do, you
   23    will introduce some amount of delay.        In fact, I'm kind of
   24    previewing what's on slide 31, which is kind of the pros and
   25    cons of packet-based blocking using inline analysis.          The




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                                K. Ameroth - By Mr. Gaudet

    1    most significant pro here is that you can block and prevent
    2    attacks.   You can stop packets, and you can delete them, you
    3    can send them somewhere else, and you can keep them from
    4    going into the network.
    5               The other thing that you can do with a packet-based
    6    blocking system is you can develop rules in an automated
    7    fashion.   So if you get some sort of -- I think the term that
    8    was used, and you asked about it, "threat intelligence."          And
    9    that threat intelligence results in rules being created, and
   10    they can be put into the list of rules that are considered
   11    when packets come through across the line.
   12    Q.   And that threat intelligence, that's the information
   13    that's telling us about known viruses, known malwares, that
   14    have already hit or been discovered on the Internet.
   15    A.   That's correct.
   16               Now, there are some cons, some of which I think I've
   17    alluded to, this idea of false positives; that if the rules
   18    aren't dead-on perfect, then sometimes you're blocking
   19    packets that should be allowed through.
   20               Regardless of how good your hardware and software
   21    is, it will add delay, sometimes called latency, and that
   22    extra delay and that extra latency can affect user
   23    performance.    It can take longer to load your web pages if
   24    that firewall is trying to do very complex analysis.
   25               It can be expensive.     If you are operating a network




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                                K. Ameroth - By Mr. Gaudet

    1    that runs at high speeds, then it will take a very
    2    sophisticated piece of equipment, hardware and software, to
    3    keep up with that rate of packets, to keep up with the wire
    4    speed.
    5              The other thing is a network might have multiple
    6    entry points, and so you would need one of these devices at
    7    every single entry point to analyze all of the packets coming
    8    into that network, and so that can be expensive.
    9              The last point here, as you'll see at the bottom of
   10    the slide, automated.     Automated is both a pro and a con.         To
   11    quote a favorite movie, "With great capability comes great
   12    responsibility."    And so if you're not careful, rules that
   13    can generate false positives or add delay can be installed
   14    into the list of rules and can actually be a detriment to the
   15    network trying to get data through.
   16              All right.    Questions?
   17              THE COURT:    No.    I think it's well explained.
   18              THE WITNESS:    Thank you, sir.
   19              One final point:      I'm showing this battle continued
   20    to evolve and changed the verb tenses again.          The Internet
   21    continued to grow in size and complexity.           The Internet has
   22    kept evolving.    And so the point of this slide is people who
   23    have been trying to attack the Internet have been trying to
   24    attack it for 25 years.       And people who have been trying to
   25    protect it have been trying to protect it for 25 years.          This




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                                K. Ameroth - By Mr. Gaudet

    1    is not something that's happened in the last ten years.          And,
    2    again, I think over the course of the trial, both sides will
    3    be addressing the question of what exactly existed in the
    4    prior art?
    5                So I don't want to turn this tutorial into anything
    6    but a tutorial except to recognize that there was significant
    7    work in security, and part of that security work was because
    8    the Internet was continuing to evolve.
    9    BY MR. GAUDET:
   10    Q.   My question was going to be is there another way, big
   11    picture, to secure a network besides this sort of guardhouse
   12    inline model?
   13    A.   Yes.    So that was the second one on the list.      I'll go
   14    back to the neighborhood analogy.
   15                Now we're going to use a technique called flow-based
   16    allow-and-detect using out-of-band analysis, and I'll
   17    contrast that with what I just described.
   18                So in this example, in the neighborhood, there's no
   19    guardhouses, but instead what happens is the houses or
   20    sensors are able to monitor things about what's happening in
   21    that network.
   22                Now, this kind of monitoring doesn't happen on a
   23    per-packet basis.     It happens on a flow basis, which is one
   24    of the reasons why I wanted to introduce the concept of a
   25    flow and that a collection of packets together could be




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                                K. Ameroth - By Mr. Gaudet

    1    considered a flow.
    2              What's used to determine whether or not things are
    3    happening in this neighborhood that shouldn't happen is what
    4    I'll call summary statistics.       Those summary statistics would
    5    go to someplace like a command center or a monitoring site,
    6    and they would look at those statistics and try and make a
    7    decision as to what's happening.
    8              The analogy here would be, let's say in the
    9    neighborhood ten cars come to my house.        Well, that may not
   10    be a bad thing, but if it turns out that you also learn that
   11    I'm on vacation and there's nobody at the house --
   12              THE COURT:    Or you're selling drugs.
   13              MR. GAUDET:    Your Honor, after some of his answers
   14    to me, I had that same question.
   15              THE WITNESS:    I will assume that that was a lower
   16    case "you," or it's my brother.
   17              So that would require some additional analysis.         It
   18    would require potentially gathering additional information,
   19    you know, maybe calling me and saying, "Hey, is this
   20    legitimate?"    Or if it turns out that I'm actually there and
   21    I'm having a dinner party, then the answer is, "Yes, it
   22    actually is okay."
   23              The real distinction here is you're not looking at
   24    packets on an individual basis, you're looking at them as
   25    sort of a flow summary level.       Kind of the analogy that I




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                                  K. Ameroth - By Mr. Gaudet

    1    would draw there is the difference between, say, getting a
    2    voice recording of a call where you hear what was said back
    3    and forth.    That would tell you a lot about what was
    4    happening if you were able to inspect or listen to the words
    5    of the call.    That doesn't mean that if you got a phone
    6    record when the call was placed -- who called, who received
    7    the call, how long the call lasted, how many calls, what time
    8    of day the calls were placed -- that that kind of flow-level
    9    information wouldn't also be useful for performing some
   10    analysis.
   11                THE COURT:    So what you're talking about is
   12    combining a program that will test phone calls with one that
   13    matches the traffic at the guardhouse.
   14                THE WITNESS:    You could.    You could come up with a
   15    defense-in-depth strategy, where you had a firewall and it
   16    was inspecting packets inline according to a set of rules and
   17    blocking some, but to the extent that that firewall wasn't
   18    effective, you could use this other approach, in addition.
   19    You could collect summary statistics about what was happening
   20    in the network.
   21                THE COURT:    Well, what would the number of phone
   22    calls have to do with -- I mean, that would somehow have to
   23    relate to the traffic that was coming into the same home.
   24                THE WITNESS:    Even ignoring a traffic-level
   25    analysis, if, for example, it turned out that I was placing a




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                                K. Ameroth - By Mr. Gaudet

    1    number of calls to a foreign country, that might be
    2    suspicious behavior.     It might also not be suspicious
    3    behavior; I happen to have business with a company in that
    4    particular place.
    5              So kind of the call analogy -- and I think, for
    6    example, you can do detective work based on call logs and
    7    only call logs, and that might give you a suspicion as to
    8    some behavior that would require further investigation.
    9    You're not in a situation where you would have the call and
   10    the words on the call itself.       You're not to that point in
   11    the investigation, but you would have some summary statistics
   12    that might give you a basis on where to look to determine if
   13    something was happening.
   14    BY MR. GAUDET:
   15    Q.   Dr. Almeroth, we may have mixed the metaphors along the
   16    way, and that may have generated just a little bit of
   17    confusion.    At least I think I may have lost the stream at
   18    some point.
   19              Sticking just with the neighborhood and not thinking
   20    about telephone calls, in this analogy of a neighborhood, is
   21    there any guardhouse or guardhouse equivalent at all?
   22    A.   No, not for just this approach.
   23    Q.   Everything comes in, right?
   24    A.   Everything comes in; that's correct.
   25    Q.   So we haven't prevented anything.       After it's come in,




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                                K. Ameroth - By Mr. Gaudet

    1    are we now sort of looking in a summary fashion to see what
    2    kinds of things are going on to figure out if maybe there's a
    3    problem, after it's already come in?
    4    A.   Right.   So you might -- right.      That was the example of
    5    how many cars to my house, you know, if you had information
    6    about where the cars were coming from, or the time of day.
    7    If suddenly cars start arriving at my house from midnight
    8    6:00 a.m., that would be the kind of behavior, kind of the
    9    flow-level behavior, that might merit some additional
   10    investigation to determine --
   11              THE COURT:    Well, how do you measure that without a
   12    guardhouse?
   13              THE WITNESS:    Well, you can measure that by, for
   14    example, having sensors in the network, by having -- say at a
   15    stop sign, knowing how many cars had gone by.         You know, you
   16    don't have the level of inspection that you can do on a
   17    packet-by-packet basis and see what's in the car or what's in
   18    the trunk, you really just get a set of summary statistics
   19    that are collected.
   20              THE COURT:    Well, it seems like this would be sort
   21    of an after-the-fact investigation.
   22              THE WITNESS:    Yes, absolutely.
   23              THE COURT:    I mean, if everything just came in, you
   24    may base the rule on the fact that there's been a lot of
   25    malware coming in, and so you look at where it came in from




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                                  K. Ameroth - By Mr. Gaudet

    1    and sort of go in reverse and put in the rules --
    2                THE WITNESS:    That's right.
    3                THE COURT:    -- based on history.        It's based on
    4    history of the club.
    5                MR. GAUDET:    Your Honor, the analogy I was going to
    6    draw and I referenced was -- we were talking about the credit
    7    card.   This is rather than preventing the credit card from
    8    being breached in the first place, it's looking at your bill,
    9    realizing something bad happened, and then calling your
   10    credit card company and invoking your insurance to do
   11    something about it; history versus stopping it on the way in.
   12    BY MR. GAUDET:
   13    Q.   Dr. Almeroth, is that a fair way of putting it?
   14    A.   Yes.   It is absolutely after the fact.          I think that's an
   15    important point to keep in mind.
   16    Q.   And, in fact, by the time -- and we'll go into the
   17    specific -- we'll get rid of the analogy and go into the
   18    specific technology, but I think this is an important point
   19    to raise here:
   20                By the time that summary information is even sent to
   21    anybody who can do something with it, what's happened to the
   22    packet that may have -- or the packets that have generated
   23    that summary information?
   24    A.   They're already at the destination.          You have allowed the
   25    packets to go through.       That's the second part of it.       You've




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                                K. Ameroth - By Mr. Gaudet

    1    allowed them to go through, and you want to do the post facto
    2    analysis to determine if you can detect something.
    3    Q.   Let's proceed and actually move away from the analogy and
    4    into the specific technology.
    5    A.   All right.    So now we have this computer figure again.
    6    I've introduced, on the right side, this flow collection and
    7    analysis device with the person sitting there.         The first
    8    step that will happen is that information from all of the
    9    routers and switches, kind of this summary statistics using a
   10    technique called NetFlow, which is flow summary information
   11    which is collected at the routers and switches, that summary
   12    information would be sent to that flow collection and
   13    analysis device.
   14                To show that in a little bit more detail, I have an
   15    animation, and the animation will show a sender, located on
   16    the other side of the Internet, that goes through one router
   17    or switch that we can collect data from and then on to the
   18    receiver.    And so these packets come through the network.
   19                Now, understanding again one of the last things that
   20    we talked about, there can be millions of packets, and
   21    operating at line speed or wire speed, it can be millions of
   22    packets in every second.      And the point that the router can
   23    do is it can collect a flow summary for the different flows
   24    that go through that router, and it can send just that
   25    summary to the flow collection and analysis device.




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                                   K. Ameroth - By Mr. Gaudet

    1                 And that flow summary might include things --
    2    Q.   Doctor, I want to stop you there just to be sure we're
    3    clear about the graphic.
    4                 The words "600 packets" was on that thing that kind
    5    of went up there.     Are the packets themselves ever going up
    6    to the flow collection analysis?
    7    A.   No, just the summary.        I mean, you can imagine if you
    8    made copies of all of the packets and then sent copies of all
    9    of the packets through the network and then you had to
   10    monitor the copies of all of the packets and then copy all of
   11    the packets that were copies, you can really only do the
   12    summary.
   13    Q.   Okay.
   14    A.   So that summary goes up to the flow collection analysis.
   15                 THE COURT:    I want the attorneys to get that point.
   16                 MR. GAUDET:    Your Honor, I told Mr. Jameson he
   17    shouldn't have done that.
   18                 THE COURT:    I want to control the flow collection.
   19                 MR. GAUDET:    We got it loud and clear.
   20                 THE WITNESS:    Probably what Your Honor would not
   21    like to see is that there then is another flow summary that
   22    comes in that adds additional information on the original
   23    flow summary.     And so, at least in the network context, these
   24    flow summaries can come in periodically.               They're not the
   25    packets.     So it just summarizes the flow.




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                                K. Ameroth - By Mr. Gaudet

    1                I mentioned in that original figure that in the
    2    Internet, networking and monitoring, that the way that you
    3    summarize these flows and the types of information is
    4    according to something called NetFlow.
    5                NetFlow is an Internet Engineering Task Force
    6    standard.    It was published in October 2004.      It actually
    7    originated with Cisco, I think, in the late '90s, but it
    8    became an Internet standard that everyone could use to
    9    describe kind of the way that you could put statistics into a
   10    flow summary.
   11                Because the point is you want these flow summaries
   12    to be accessible by any kind of flow collection and analysis
   13    system, and because it doesn't have to be in the network,
   14    it's important to have a standard to represent kind of who's
   15    communicating, when, and what, and how much, and for how
   16    long, so that any kind of flow collection and analysis system
   17    can use those flow summaries to do some after-the-fact
   18    analysis.
   19    BY MR. GAUDET:
   20    Q.   In terms of the after-the-fact analysis, you know, we've
   21    used analogies so far like cars coming to your house, that
   22    sort of thing, but in the real world, would this be -- for
   23    example, we see that an extraordinarily large number of
   24    packets is going to or coming out of some particular device,
   25    that that almost never happens, and that must be trouble.          Is




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                                K. Ameroth - By Mr. Gaudet

    1    it something like that?
    2    A.   That's correct.    So, Mr. Gaudet, you're getting into the
    3    phase of what do you do with those flow summaries, so really
    4    the next step, sort of back to this representation of the
    5    real network, is that there's an inspection that takes place
    6    to try and mine all of that summary data to see if there's
    7    anything worth understanding out of that data.
    8              And so there's this offline phase where you're
    9    looking at all of these statistics that can be collected from
   10    the network.    In fact, sometimes the word -- I saw it in one
   11    of the documents that Dr. Medvidovic presented -- is called
   12    telemetry.    So you have telemetry information and summary
   13    statistics that could be mined and analyzed, and ultimately
   14    some of that data could potentially indicate that there's
   15    something that merits further investigation.
   16              So an e-mail comes through, and it's allowed into
   17    the system, and the e-mail says:       Hey, this is your credit
   18    card company.    Something bad has happened.        Click on this
   19    link and enter all of your private information.
   20              Well, that e-mail didn't come from the credit card
   21    company, but, as a result, somebody looked at that e-mail,
   22    clicked on the link, and now they've started communicating
   23    over time with some other company in a different part of the
   24    world.
   25              And somebody would look at that and say, wait a




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                                K. Ameroth - By Mr. Gaudet

    1    second.   This person doesn't normally communicate with this
    2    other country, they communicate with their own bank.          I
    3    should look and see what kinds of flow statistics there are
    4    to see whether or not that person hasn't actually been
    5    tricked into entering their information, their private
    6    information, and giving it away to somebody else.         But it
    7    happens after the fact, based on the summary statistics.
    8    Q.   And one other just clarifying point:
    9                 I think you used the word -- or over the course of
   10    the proceedings today, we've heard the words telemetry, flow
   11    data, and NetFlow, and are those all talking about the same
   12    thing, just summary information?
   13    A.   That's correct.
   14    Q.   Okay.    Summary information, but that's not the packets
   15    themselves?
   16    A.   That is not the packets themselves.
   17                 And, again, that makes sense.    You see in slide 37
   18    that you're getting lots of telemetry or NetFlow data from
   19    the different routers and switches.        You can't create copies
   20    of all of those packets that the routers and switches are
   21    doing.    It would just place too much of a burden on the
   22    network to try and deliver copies of packets at every router
   23    and switch seat, so you have to kind of bump up the level of
   24    abstraction so that you're getting not the details of the
   25    packets but the summaries of the flows.




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                                K. Ameroth - By Mr. Gaudet

    1               Pros and cons here.    There's a number of pros.        It's
    2    not a bottleneck.     You can do lots of analysis.      That
    3    magnifying glass was rotating around constantly.         You can
    4    take as long as you want to do the analysis.        You have more
    5    time.   You're not slowing packets down.       You're not
    6    introducing delays in latency.       Because you're not blocking
    7    packets, you don't delete packets or remove them because of
    8    false positives.    You allow the packets through and then do
    9    some detection, and so it doesn't introduce delays and
   10    latency.
   11               Now, there's a big con here, which is you can't
   12    block or filter packets.      You have to respond to the threats
   13    after those packets have been received and after whatever was
   14    going to happen with those packets has been done.         So that's
   15    why it's an allow-and-detect strategy as opposed to a
   16    blocking strategy.     And it's done out-of-band, so it doesn't
   17    introduce the delays and the bottlenecks that inline analysis
   18    does.
   19    Q.   And two questions:
   20               The phrase "out-of-band," is that simply to contrast
   21    with "inline," where inline means you're in the line of the
   22    network traffic, and out-of-band means you're sort of
   23    outside, looking in?
   24    A.   That's correct.
   25    Q.   And then last question:




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                                K. Ameroth - By Mr. Gaudet

    1                For a defense-in-depth strategy, could you do some
    2    combination of these different things?
    3    A.   Absolutely.    And that points to kind of the give-and-take
    4    between the attackers and those who secure the network and
    5    the who, what, when, where, and how; that you can protect a
    6    network through multiple layers, and each of those layers is
    7    designed to do different things, has different pros and cons,
    8    provides different levels of protection, cost different
    9    amounts of money.     So depending on how much money you want to
   10    dedicate to protecting your network and how important that
   11    data is, then you can allocate more budget to securing your
   12    network.
   13    Q.   Why don't we just briefly talk about one other
   14    possibility here.
   15                MR. GAUDET:    Then, Your Honor, we will turn to the
   16    accused products and, with that, finally, land this plane, so
   17    to speak.
   18                THE WITNESS:   So there's a third approach to
   19    consider, just to kind of round out how this works.          And I'll
   20    do this very quickly.
   21                I've created slide 40, which shows you what it looks
   22    like.   Many of the same words are there, but it's a
   23    packet-based, allow-and-detect doing out-of-band analysis, so
   24    it has similarities and flavors to each of these.
   25                Packet-based is allow-and-detect, and it's




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                                K. Ameroth - By Mr. Gaudet

    1    out-of-band.    So slide 41 gives you an example of what it
    2    looks like, and the key piece here is the use of a new piece
    3    of equipment called a tap.      And I have an animation that will
    4    walk through this to kind of describe how this works.
    5              And I'll do the first click, because what it shows
    6    is a packet coming into the network, and what that tap does
    7    is it creates a duplicate of that packet.           It allows the
    8    packet to continue through but at the same time makes a copy
    9    that it passes up to what's called an intrusion detection
   10    system.
   11              It's different than an intrusion prevention system,
   12    because even if that packet is determined to be malicious,
   13    it's already allowed the original version of that packet
   14    through into the network.
   15              THE COURT:    Well, how would you do that, if it was
   16    encrypted?
   17              THE WITNESS:    So if it was encrypted, then you would
   18    have to apply different kinds of rules.        And I think you
   19    questioned Dr. Medvidovic about this, in terms of, you know,
   20    maybe you could look at the size of the packet.          Well, then
   21    the attacker says, "I'll just obscure how big the packet is
   22    by adding some extra steps."      And then you say, "Well, I'll
   23    figure out where it's coming from."        And the attacker says,
   24    "Well, I can fake where it's coming from."
   25              So it's this back-and-forth about what kind of




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                                  K. Ameroth - By Mr. Gaudet

    1    information that you can use to really determine what's
    2    happening.
    3                And as soon as you have rules for this kind of
    4    thing, then sometimes the hackers can find ways of getting
    5    packets through that are malicious but haven't been detected
    6    or can't be detected by...
    7                THE COURT:    You'd have to get a search warrant for
    8    the receiver.
    9                THE WITNESS:    Eventually, you might have to.     If you
   10    do the offline analysis and it's effective and thorough, it
   11    might point to a real problem that you have to then...
   12                THE COURT:    They say that your testimony is trailing
   13    off.    She can't hear the ending.
   14                THE WITNESS:    Yes, sir.    I will not trail off.
   15    BY MR. GAUDET:
   16    Q.     I think it's started about the time that Judge Morgan
   17    revealed you as a drug dealer.
   18    A.     So to review the technology here, the tap makes a copy of
   19    packets, and then the packet, the original packet, is allowed
   20    to the destination.       The duplicated packet goes up to the
   21    guardhouse for inspection.        So I paused it there, and now
   22    I'll show that the original packet goes through, and the
   23    duplicated packet goes up for inspection.
   24                I'll show a second packet without a slip to just
   25    show that it's duplicated, analyzed, but at the same time




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                                K. Ameroth - By Mr. Gaudet

    1    allowed to go through.
    2              I'll show a third packet that's duplicated, allowed
    3    to go through, but matches a rule and is determined to be
    4    malicious.
    5              So this is a packet-based system.          It looks at
    6    individual packets.     It works by doing allow-and-detect,
    7    because it doesn't block packets that it determines to be
    8    malicious; it allows them through.        And it does out-of-band
    9    analysis because the guardhouse is not in-band, inline, doing
   10    the inspection.
   11              So it's kind of a third approach that mixes and
   12    matches some of these different kinds of techniques, and so
   13    there's a different set of pros and cons.           It's not a
   14    bottleneck.    You don't block on false positives.        It doesn't
   15    introduce the kinds of delays and latencies that inline
   16    analysis would do.
   17              The pro here of the tap is that you also get a copy
   18    of all of the packets, and so you can do that same kind of
   19    packet-by-packet analysis that firewalls could do.          But there
   20    are cons to that.
   21              Just like the flow-based allow-and-detect, you can't
   22    block and filter.     You're doing this kind of offline analysis
   23    after the fact.    And even though you're getting all of the
   24    packets, you're getting all of the packets, so you have to do
   25    the analysis on all of the packets.        And that means that it's




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                                K. Ameroth - By Mr. Gaudet

    1    going to be expensive and require a lot of hardware and
    2    software, and if you want to do a lot of complex processing,
    3    it will be very expensive to do on those copies of the
    4    packets.
    5               But, as you alluded to earlier, these different
    6    approaches can be combined in different ways to create a
    7    defense-in-depth strategy.      So depending on products that are
    8    available, you can use different techniques in combination.
    9    You can use different strength techniques at different places
   10    in your network, depending on how you want to be able to
   11    detect that.
   12               MR. GAUDET:   Your Honor, our fourth and final module
   13    is the accused products.
   14               And Dr. Medvidovic -- the same products that he
   15    talked about, one of the main takeaways here, Your Honor, is,
   16    as Dr. Medvidovic put up the various products, he had the
   17    same kind of a line drawn between all of them, almost -- and
   18    I don't know that he intended this, but you could be led to
   19    believe that the network traffic was actually going between
   20    all of these different products.
   21               I think, as we get into this case, it's very
   22    important to see where the network traffic packets are and
   23    what's actually going between the various products, and so in
   24    our images, we try to differentiate that based on the
   25    different kinds of lines that we're going to show.         I just




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                                  K. Ameroth - By Mr. Gaudet

    1    say that by way of general background.
    2    BY MR. GAUDET:
    3    Q.   And, Dr. Almeroth, if you could, give us a sort of
    4    roadmapping of the accused products and how these things will
    5    interrelate with each other.
    6    A.   Yes.   My intention in this overview is really just to say
    7    what some of the names are and to identify the acronyms.          I
    8    think over the course of this trial, it will become clear
    9    what those products actually do, and so I want to be very
   10    careful to keep this at a tutorial level.
   11                So the first line on slide 44 is to identify the
   12    accused firewalls, routers, and switches, and these are the
   13    same things that Dr. Medvidovic pointed to; the catalyst
   14    switches, the Aggregation Service Routers, the Integrated
   15    Service Routers, and then the Adaptive Security Appliance.
   16                THE COURT:    The first one, it says catalyst
   17    switches.    Did you name that?
   18                MR. GAUDET:    Your Honor, I think that's actually
   19    showing a stack of multiple switches.          That's why it's plural
   20    there, if that was your question.
   21                THE COURT:    My question was are you counting the
   22    switches as a firewall?
   23                THE WITNESS:    No.
   24                THE COURT:    It says, "Accused firewalls, routers,
   25    and switches."    Okay.     So the switches --




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                                K. Ameroth - By Mr. Gaudet

    1              MR. GAUDET:    We've got it in exactly the opposite
    2    order, Your Honor.     We apologize for that.       It actually goes
    3    switches, routers, firewalls.
    4              THE COURT:    All right.    Just a second.
    5              It's got two kinds of routers, and the fourth, the
    6    Adaptive Security Appliance, is a firewall.         Is that what you
    7    mean?
    8              THE WITNESS:    Yes.   Yes.
    9              If you don't mind, Your Honor, let me skip ahead two
   10    slides.   The way that I've organized this description is I've
   11    actually put into words kind of a summary of what each of
   12    these are so that if you wanted, you could go back and review
   13    kind of a quick summary as to what a catalyst switch is
   14    versus, say, an Aggregation Services Router.
   15              And so you'll see that, for example, the Adaptive
   16    Security Appliance -- that's described there.         It provides
   17    what's called FirePower service, which is a kind of firewall.
   18    And so these words, I think, should help guide you, if you
   19    kind of need a glossary later in the trial as to which are
   20    the switches and which are the routers and which are the
   21    firewalls.
   22              THE COURT:    Okay.
   23              THE WITNESS:    I'll go back one slide.       I've
   24    highlighted in orange where these products would exist in
   25    kind of this representative network that I've come to a few




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                                K. Ameroth - By Mr. Gaudet

    1    times.
    2               So the routers and switches could connect the users
    3    to other users or to other routers and switches or servers,
    4    and then the firewall could potentially sit at the gateway or
    5    beyond the gateway.
    6               Now, the next two slides will talk about some
    7    additional management devices.       Dr. Medvidovic also described
    8    these.   All I really want to do in this tutorial is to
    9    identify the name and the acronym and, at a very high level,
   10    give a very brief description of the kinds of things that it
   11    does.    Again, I think if I started to describe how these
   12    devices would work in detail, it would start to sound like
   13    testimony.
   14               So the purpose of this part of the tutorial -- there
   15    will be a slide after this one that has lots of words on it,
   16    and those words will summarize kind of the basic
   17    functionality of each of the devices that will be listed
   18    here.
   19               So, at a very high level, the Digital Network
   20    Architecture center will be used by somebody, a network
   21    administrator, who could configure a router or switch.
   22    BY MR. GAUDET:
   23    Q.   Dr. Almeroth, again, this is the IT person, for example,
   24    that had us all set up our equipment to make this trial
   25    possible, correct?




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                                  K. Ameroth - By Mr. Gaudet

    1    A.     That's correct.    That's what, half a dozen, ten or so
    2    people that are working very hard to make this trial come off
    3    over Zoom?
    4                THE COURT:    So the DNA controls the switches,
    5    routers, and firewalls, all three?
    6                THE WITNESS:    That's correct.     So let me jump ahead
    7    to slide 48.    You'll see that summary there.
    8                It's an IT manager's device for setting up and
    9    maintaining the switch and routers of the network.
   10                THE COURT:    All right.    So "DNA" stands for what?
   11                THE WITNESS:    Digital Network Architecture.
   12                MR. GAUDET:    And, Your Honor, just one point of
   13    clarification:
   14                The line from DNA actually does not go out to the
   15    firewall.    In other words, there's a different piece of
   16    equipment that will control the firewall.
   17                THE COURT:    What's the third -- what is the "A" in
   18    DNA?
   19                THE WITNESS:    Architecture.
   20                THE COURT:    Okay.
   21                THE WITNESS:    Let me give you a quick example.
   22                A Digital Network Architecture center would be
   23    really useful in a network that might have hundreds of
   24    switches and routers in it.        And so if a new network or a new
   25    switch or router were added to that network, say, a 60-story




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                                K. Ameroth - By Mr. Gaudet

    1    building with lots of routers and switches, DNA would be
    2    useful for configuring that router so that it would operate
    3    on that particular network.
    4              So it's, you know, making sure that it has routing
    5    information to get to other destinations, setting up
    6    passwords, and those kinds of functions.
    7              THE COURT:    Well, so there are no firewalls here.
    8    The only thing this illustrates is how the DNA controls the
    9    switches and routers.
   10              THE WITNESS:    It gives them the configuration so
   11    they can operate; that's correct.
   12              THE COURT:    So that's just sort of an operating
   13    system, not a security system, correct?
   14              THE WITNESS:    That's correct.
   15              THE COURT:    Okay.    All right.
   16              THE WITNESS:    Now, the second one is called the
   17    Identity Services Engine.       And, again, I will jump to
   18    slide 48 and show you that I've given you some words that you
   19    can come back and reference.
   20              It's a management device for tracking identity of
   21    users and user computers on a network and for setting the
   22    limits of user and user computer access to other devices on
   23    the network.
   24              And let me give you a little bit of an analogy to
   25    help you understand kind of what an Identity Services Engine




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                                  K. Ameroth - By Mr. Gaudet

    1    might do.
    2                So, for example, in the courthouse, you have badges
    3    for employees and for visitors.         We talked about that router
    4    and switch for users 1, 2, and 3.         The Identity Services
    5    Engine would be used to establish a group that would say only
    6    employees, only people who are inside of this network, can
    7    communicate with users 1, 2, and 3, and visitors could only
    8    access servers 1 and 2.       And so the router and the switch
    9    would be able to use those groups in order to identify
   10    packets as being part of that group and, therefore, allowed
   11    into the network or not.        And so the Identity Services
   12    Engine, this management device, is the thing that would allow
   13    those groups to be configured in that router and switch.
   14                THE COURT:    All right.
   15                THE WITNESS:    The reason why you have the separate
   16    device like this is so that, say, in the courthouse, if 10
   17    new badges are being used for visitors and so they have
   18    numbers that are in the range not currently being allowed
   19    into the visitor space, you wouldn't want somebody to have to
   20    go around to all of the places where those badges could be
   21    used and start changing every single place every badge is
   22    used.
   23                Same thing in a network.      If an additional router or
   24    switch comes online and it needs to be configured, or the
   25    number of visitor badges or people who can access certain




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                                K. Ameroth - By Mr. Gaudet

    1    portions of the network change, then you can use the Identity
    2    Services Engine to change those configurations without having
    3    to go to each router or switch individually.        That's
    4    something that that management device would do for you.
    5              THE COURT:    All right.
    6              THE WITNESS:    The third piece on this slide 47 is
    7    called the FirePower Management Center.        And now I've added
    8    the Adaptive Security Appliance or the Adaptive Security
    9    Appliance with FirePower Services or a FirePower appliance.
   10    They can be separate things.
   11              THE COURT:    Wait a minute.
   12              THE WITNESS:    But what the FirePower Management
   13    Center does --
   14              THE COURT:    Wait a minute.     ASR means --
   15              THE WITNESS:    ASA.
   16              THE COURT:    ASA?
   17              THE WITNESS:    Yes, sir.
   18              THE COURT:    All right.    "ASA" means what?
   19              THE WITNESS:    That is the Adaptive Security
   20    Appliance.    And I will show you on the next slide.       That has
   21    the summary.
   22              It's an inline security product with advanced
   23    packet-filtering functionality, about that fourth row I'm
   24    reading from.    And there's a portion of that Adaptive
   25    Security Appliance called the FirePower Services.         So it's




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                                  K. Ameroth - By Mr. Gaudet

    1    FirePower Services within the Adaptive Security Appliance,
    2    and that portion is managed by what's called the FirePower
    3    Management Center.
    4    BY MR. GAUDET:
    5    Q.   Dr. Almeroth, just to back up just a little bit, this is
    6    the firewall, right?
    7    A.   Yes, this is the firewall.
    8    Q.   The Adaptive Security Appliance, the FirePower Services,
    9    or the FirePower appliance, whatever, that is the inline
   10    firewall?
   11    A.   Yes, sir.
   12                THE COURT:    All right.    It's not a firewall until
   13    you add the Adaptive Security Appliance to the router.
   14                THE WITNESS:    Well, the Adaptive Security appliance
   15    is the firewall.    I think that the reason why there's a
   16    couple of different components is because this has been a
   17    product that Cisco has offered for a very long time, and so
   18    it has to be described this way, as different.
   19                MR. GAUDET:    And let me just maybe put it this way:
   20                On this image, Your Honor, the only place that
   21    there's a firewall is that far left.          Right after the
   22    Internet, it's got the wall and the little fire, and that
   23    list of names are the different sort of kinds of appliances
   24    that are the firewalls.
   25                And then the thing on the right side, the FirePower




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                                 K. Ameroth - By Mr. Gaudet

    1    Management Center, that's the thing that the court staff, the
    2    network manager, the IT staff, uses to control the firewall
    3    over on the left side of the screen.
    4    BY MR. GAUDET:
    5    Q.   Dr. Almeroth, is that a fair description?
    6    A.   That's correct.     The management center is like the other
    7    management devices.      It can be located remotely and then be
    8    used to configure or manage that firewall.
    9    Q.   And let me ask a couple more general questions.
   10               Everything on the right that says "management
   11    devices," are any of those things inline, meaning that
   12    they're actually getting the network traffic or seeing the
   13    packets that are coming into the network?
   14    A.   No.   They're management devices.       They sit out of band.
   15    And, also, in these particular cases, these types of devices
   16    are mostly used for management.        So they're used for
   17    configuring the routers or switches, in the first two
   18    instances, or the firewall in the third instance.
   19               THE COURT:    Okay.
   20               THE WITNESS:    All right.    Again, this slide 48
   21    summarizes kind of these words.        So as you come to understand
   22    what these products do or need a refresher, then that's where
   23    they will exist.
   24               So the next is to talk about the additional set of
   25    management devices that are also accused.            So the first is




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                                  K. Ameroth - By Mr. Gaudet

    1    what's called Stealthwatch.        One of the other terms that you
    2    will hear in the context of infringement allegations is the
    3    idea of NetFlow.    And NetFlow is what I described earlier.
    4    It's that standard from the IETF.         That's what creates the
    5    flow summaries that are used by the accused Stealthwatch
    6    product.
    7                Stealthwatch is what receives those summaries and is
    8    able to do analysis of those summaries to create alerts that
    9    something strange is happening, based on all of the network
   10    statistics that it is able to gather.          And I've used
   11    statistics, NetFlow summaries, and telemetry.
   12                But the next step of this animation shows that --
   13    BY MR. GAUDET:
   14    Q.   Dr. Almeroth, before we go there, is this -- and we
   15    talked about the two different types of network approaches.
   16    There was the guardhouse, and then there was the
   17    allow-and-detect, after-the-fact look at summaries and see if
   18    something bad happened.       Which one is this?
   19                THE COURT:    After the fact.
   20                THE WITNESS:    This is just what the title says; it's
   21    flow-based, it's allow-and-detect, and it's out-of-band
   22    analysis.    So it doesn't look at packets, it doesn't do
   23    blocking, and it doesn't operate inline.
   24                The next part of this animation, to show how it
   25    works with other products, is you do an analysis of that




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                                K. Ameroth - By Mr. Gaudet

    1    data, and if something suspicious happens, then an alert can
    2    be presented on a screen to a user.
    3              Now, I'll pause for a second.
    4              What also happens is that the Stealthwatch
    5    information can be passed to what's called Cognitive Threat
    6    Analytics, or CTA.     This is shown as being remote even from
    7    Stealthwatch and from the network.        This is also out-of-band,
    8    and I believe you'll hear testimony that CTA is performed,
    9    actually, overseas.
   10              Now, CTA can use the information that it's given,
   11    the NetFlow records, to do its own analysis.        And it, too, in
   12    addition to alerts that can be generated by Stealthwatch,
   13    might also generate an alert, and that can be displayed on a
   14    dashboard to a user.
   15              So, for example, let's say you have the IT staff in
   16    the courthouse.    They can be in their office.       They can have
   17    on their screen that you would get certain kinds of alerts.
   18    Those alerts might come from a Stealthwatch device, or they
   19    might come from Cognitive Threat Analytics that happen not
   20    even in the courthouse.     So information can be passed and
   21    then additional analysis can be done.
   22    BY MR. GAUDET:
   23    Q.   Dr. Almeroth, just to maybe step through that, because I
   24    know this is a point that sometimes in the details can get a
   25    little thick, so to speak.




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                                K. Ameroth - By Mr. Gaudet

    1              Cognitive Threat Analytics, if it looks at this same
    2    NetFlow information, this is, what, another tool to analyze
    3    NetFlow information that can also send an alert up to
    4    Stealthwatch?    Is that a fair way of saying that?
    5    A.   That's correct.
    6    Q.   And then once you get these alerts at Stealthwatch, it is
    7    literally a human -- not this human, because I wouldn't know
    8    what to do with them -- but an IT staff member, a manager,
    9    who would look at them, at those alerts, and decide either
   10    it's no big deal or maybe I want to do something about it.
   11    A.   That's correct.    And, using the credit card analogy, you
   12    would get all of this information, and somebody might look at
   13    that information and decide that it was worth putting a block
   14    on your credit card, or that something suspicious had
   15    happened, and they might call you up and say, were you really
   16    in Washington, D.C. on these dates?
   17              And so there's CTA, as you described it, and then
   18    there's also the Encrypted Traffic Analytics.         So there's
   19    portions of the encrypted traffic that can be provided as
   20    part of NetFlow.    And when I -- portions related to the
   21    summary of the encrypted packet flow, not anything about the
   22    packets themselves or, as we've discussed, the data encrypted
   23    that's not useful to analyze.
   24              THE COURT:    This is after the fact.
   25              THE WITNESS:    All of this is after the fact, Your




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                                  K. Ameroth - By Mr. Gaudet

    1    Honor, absolutely.
    2                THE COURT:    Everything in Stealthwatch is?
    3                THE WITNESS:    Yes, sir.
    4    BY MR. GAUDET:
    5    Q.   And so is it fair to think of Cognitive Threat Analytics
    6    and Encrypted Traffic Analytics as a couple of tools that you
    7    can use after the fact, with Stealthwatch, in order to
    8    analyze these NetFlow summaries of what's already happened?
    9    A.   Yes.   It's different animals of the same type, right?
   10    Stealthwatch can do its own analysis.          That was the revolving
   11    magnifying glass.     CTA can do its own analysis.          That was
   12    part of that revolving magnifying glass.              ETA can do its own
   13    analysis.
   14                It's almost like the more people, the more
   15    techniques, that can be applied to this data, the more
   16    potential alerts and the more detailed information that can
   17    be determined.
   18                This is offline.     So you have ample opportunity to
   19    sift through all of those summary statistics to try and just
   20    tease out that there's something suspicious happening.             And
   21    the result of these Cisco products -- Stealthwatch, CTA, and
   22    ETA -- is to put alerts onto a dashboard, onto a screen, that
   23    would say to somebody, you know, there's something that's
   24    atypical.    This is unusual.      The volumes of traffic, where
   25    the flows are coming from, the durations of the flows are




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                                K. Ameroth - By Mr. Gaudet

    1    just atypical.    There's something that's not right here.
    2    Q.   Two quick points I want to be clear about.        We actually
    3    added -- there's the NetFlow blue dot that indicates these
    4    summaries that are going from the gateways and routers over
    5    to Stealthwatch, and we added with ETA.
    6              Now, is that just indicating we're sending a couple
    7    of additional fields of information with the NetFlow summary?
    8    Just a little more information?
    9    A.   Yes, some additional summary information related to the
   10    security pieces.
   11    Q.   Now, at a very high level, I think in the prior tutorial,
   12    there is a suggestion that --
   13              THE COURT:    What is ETA?    Encrypted Traffic
   14    Analytics?
   15              MR. GAUDET:    That's correct, Your Honor.      That's
   16    entirely on me.    I should have spelled that out.
   17              THE COURT:    Just a second.
   18              (There was a pause in the proceedings.)
   19              THE COURT:    Okay.
   20    BY MR. GAUDET:
   21    Q.   In Dr. Medvidovic's tutorial, he showed sort of an ETA
   22    icon on, for example, all the routers and switches, and he
   23    made a statement.     And I think he meant this at a very high
   24    level.   I don't think he meant to mislead anyone, but he said
   25    there's a copy of Encrypted Traffic Analytics, or ETA, at




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                                  K. Ameroth - By Mr. Gaudet

    1    every router and switch.
    2                Now, there's no copy of this software that the human
    3    is interacting with over the rights in the management devices
    4    at these routers and switches, is there?
    5    A.     No, absolutely not.    What those routers and switches can
    6    do is generate summary statistics that include fields and
    7    information that ETA can use.         All of this is out-of-band
    8    management devices.       These are not things that happen in-band
    9    or in-blocking.    This is all under the philosophy of doing
   10    analysis after the fact.
   11    Q.     So by the time that Stealthwatch gets information, what's
   12    happened to the packet that is being summarized?
   13    A.     It's already arrived at its destination.
   14    Q.     Thank you, Doctor.    If you would, proceed.
   15                MR. GAUDET:     I think we're almost done, Your Honor.
   16                THE COURT:    Did the doctor go to the beach this
   17    weekend, disobeying what the Governor said out there?
   18                MR. GAUDET:     I think it's the lighting.   We're
   19    planning to recall Dr. Almeroth, and he might just tell us,
   20    "No," after this.
   21                THE COURT:    Certainly looks like he got a little
   22    sun.    But, anyway...
   23                THE WITNESS:     You know, Your Honor, I will take a
   24    picture and e-mail it to you, because I don't know if it's
   25    the lighting in this room or exactly what, but I am neither




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                                K. Ameroth - By Mr. Gaudet

    1    this red nor this embarrassed.
    2              THE COURT:    All right.
    3              THE WITNESS:    All right.    There's one tiny animation
    4    that happens on the right side, and that's where the eureka
    5    moment happens, where the network, the IT manager, says, "Oh,
    6    my goodness.    Somebody sent a virus to Judge Morgan, and now
    7    it's on his computer."     And it's already on your computer,
    8    and so he'd have to run in and try and get it removed.          But
    9    again, it all happens after the fact.
   10              In some cases, one of the things that that IT
   11    manager can do is go back and use the Identity Services
   12    Engine in the network to prevent any further infiltration of
   13    that particular device.     So there's an additional slide that
   14    shows one of the things that you can do is, in order to
   15    protect the network, you've withdrawn access for user 6.
   16    You've removed them from the trusted group, just like ICE can
   17    do as part of its identity services and remove people from
   18    the group.
   19              It's almost like saying, "Badge No. 10, we're going
   20    to take you out of the employee pool and remove you and put
   21    you in the guest pool."     And so you can control access to the
   22    network by reconfiguring the network through the use of
   23    Identity Services Engine.
   24              THE COURT:    This is adding a rule.      Is that what
   25    that is, if you do that?




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                                K. Ameroth - By Mr. Gaudet

    1                 THE WITNESS:   The rules or the group already exist.
    2    You would be adding a member to that group.
    3    BY MR. GAUDET:
    4    Q.   Let me put it this way:     Are quarantines all or nothing?
    5    A.   No.
    6    Q.   In other words, when you quarantine, although the
    7    quarantined user can still communicate with the IT staff --
    8    right -- other communications are all shut off at that point?
    9    A.   That's correct.
   10    Q.   Yeah.    So the exception to the "all or nothing" is the
   11    staff, but at this point, are you saying, well, they can get
   12    packets, certain kinds of packets, but not other packets,
   13    we'll look at this rule, but it's not that rule, or is it
   14    just you're quarantined?
   15    A.   You would be quarantined.
   16    Q.   Is it a fair analogy to say, sort of like with the credit
   17    card, if you know that only one person has stolen your credit
   18    card -- right -- you still have to get rid of the account in
   19    total, and nobody can use the credit card anymore, as opposed
   20    to figuring out what the charges are for that specific
   21    person?
   22    A.   That's correct.
   23    Q.   Okay.
   24    A.   You'd suspend access to the credit card.
   25                 THE WITNESS:   And again, Your Honor, slide 52 gives




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                                  K. Ameroth - By Mr. Gaudet

    1    you some words to go along with these particular components.
    2    Identity Services Engine, I already described.         So this adds
    3    the description of Stealthwatch enterprise, the Cognitive
    4    Threat Analytics, and then also the Encrypted Traffic
    5    Analytics, in case you want to come back and see a brief
    6    summary of the products that have been accused.
    7                And with that, the last and most important slide,
    8    I'm done.
    9                THE COURT:    Well, I'm glad it's the last one,
   10    because I'm going to need more hardware to deal with any
   11    other information today.
   12                THE WITNESS:    The fact that you're still with me,
   13    Your Honor, is something I'm surprised by.
   14                THE COURT:    All right.    Well, that completes your
   15    tutorial?
   16                THE WITNESS:    Yes, sir.
   17                MR. GAUDET:    Your Honor, that's the last thing we
   18    have from Cisco on the tutorial.         Thank you very much.
   19                THE COURT:    All right.    Well, I think the tutorials
   20    have been very helpful in understanding the basics of what
   21    we're talking about, but translating the basics into the
   22    words of the claims and how the defending products operate I
   23    have a feeling is going to be more complex.
   24                Well, we thought that we might get the opening
   25    statements done today, which we obviously are not.




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    1              Is there anything else that we need to take up
    2    today?
    3              MR. ANDRE:    Your Honor, for Centripetal, there's
    4    nothing to take up today.      I think we can start the opening
    5    statements tomorrow morning and then start doing the
    6    presentation of evidence with our first witnesses.
    7              THE COURT:    All right.
    8              MR. GAUDET:    Nothing for Cisco, Your Honor.
    9              THE COURT:    All right.    Will we have what we
   10    discussed about the outline of the factual areas of the
   11    witnesses' testimony tomorrow?
   12              MR. ANDRE:    Yes, Your Honor.     We had already
   13    provided the witness binders to the Court for the first two
   14    witnesses we thought we might get on today.        We will
   15    supplement those tomorrow morning with the summary that you
   16    asked for.
   17              THE COURT:    All right.    And the same thing for
   18    cross-examination.     I don't know whether -- it's not as easy
   19    to do it for cross-examination as it is for the proponent
   20    witness, but I'm sure that the defense has mapped out areas
   21    of cross-examination, so I would like to have those before
   22    the cross-examination begins.
   23              MR. GAUDET:    It will be our plan to get those to you
   24    in the same time frame that Mr. Andre mentioned of
   25    supplementing our existing cross-examination binders, and




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    1    then we'll just provide that information over to Centripetal
    2    right before the cross-examination begins.
    3              THE COURT:    Right.   If there's nothing further, then
    4    we will be adjourned for the day.
    5              MR. ANDRE:    Thank you, Your Honor.
    6              MR. GAUDET:    Thank you, Your Honor.
    7              (Off the record at 3:59 p.m.)
    8                                CERTIFICATION
    9
   10          I certify that the foregoing is a correct transcript
   11    from the record of proceedings in the above-entitled matter.
   12
   13
   14               ___________________/s/____________________
   15                             Carol L. Naughton
   16                                 May 6, 2020
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